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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
______________________________________________________________________________

LIONEL FRANKLIN,                                    NOTICE OF VOLUNTARY
                                                    DISMISSAL WITH PREJUDICE
               Plaintiff,

       v.                                           Case No. 09-cv-6890

PENNCRO ASSOCIATES, INC.,                           Judge Guzman

            Defendant.                    Magistrate Judge Brown
______________________________________________________________________________

                            NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(i), Plaintiff Lionel Franklin hereby

dismisses his claims against Defendant Penncro Associates, Inc. with prejudice and states the

following in support:

       1.      Plaintiff filed his Complaint on November 2, 2009. (Docket # 1).

       2.      Defendant has not served an answer or motion for summary judgment.

       WHEREFORE, Plaintiff Lionel Franklin hereby dismisses his claims against Defendant

Penncro Associates, Inc. with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(i).


January 5, 2010                s/ Craig M. Shapiro
                              Craig M. Shapiro
                              O. Randolph Bragg
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